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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



  GANNETT SATELLITE INFORMATION
  NETWORK,

                  Plaintiff,                                        Case No. 22-cv-475-BAH


          v.


  U.S. DEPARTMENT OF JUSTICE,

                  Defendant.


                                    JOINT STATUS REPORT

        Pursuant to the Court’s Order of March 29, 2023, ECF 20, the parties, having conferred,

jointly submit the following update on the status of this matter.

        Per the parties’ agreement in their initial scheduling proposal, see ECF 10, and the

Court’s subsequent Minute Order approving that proposal, see Minute Order, May 31, 2022,

Defendant “d[id] not waive the opportunity to subsequently rely on other exemptions as

applicable” when it moved for summary judgment on Exemption 3, ECF 10 at 2.

        Defendant is continuing to evaluate its options in light of the Court’s Order, including to

seek reconsideration or to appeal. Defendant and Plaintiff have exchanged proposals for, in the

absence of a motion seeking such relief, how Defendant will begin processing the potentially

responsive records for application of exemptions other than Exemption 3. The parties will

continue to confer regarding the method of processing potentially responsive records and request

that they submit a further joint status report detailing this process. In the interim, the parties will
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also work together to determine whether they can reach agreement on any remaining potential

redactions without further litigation.

       Accordingly, the parties respectfully request that they be allowed to submit a further joint

status report on or before May 12, 2023.



Dated: April 12, 2023                                Respectfully submitted,


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                                                     MARCIA BERMAN
                                                     Assistant Branch Director

                                                     /s/ Cormac A. Early
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